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                       IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


ROBIN FACHINI                                 )    Case Number
                                              )
         Plaintiff                            )
              vs.                             )
FREDERICK J. HANNA &                          )    CIVIL COMPLAINT
ASSOCIATES                                    )
                                              )
GC SERVICES, LP                               )    JURY TRIAL DEMANDED
                                              )
FIA CARD SERVCES, N.A.                        )
          Defendants                          )


                             COMPLAINT AND JURY DEMAND


         COMES NOW, Plaintiff, Robin Fachini., by and through her undersigned counsel,

Michael E. Swain, Esquire, complaining of Defendant and respectfully avers as follows:

                        I.      INTRODUCTORY STATEMENT


         1.    Plaintiff, Robin Fachini (hereinafter “Plaintiff”), is an adult natural person

and brings this action for actual and statutory damages and other relief against Defendant

for violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq.

(“FDCPA”), which prohibits debt collectors from engaging in abusive, deceptive and

unfair practices.

                                  II.     JURISDICTION


         2.    Jurisdiction of this court arises under 15. U.S.C. § 1692k(d) and 28 U.S.C.

§1337.

         3.    Venue in this District is proper in that the Plaintiff resides in the District.
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                                     III.    PARTIES


       4.      Plaintiff, Robin Fachini, is an adult natural person residing at 1292 Church

Street, North Adams, MA 01247. At all times material and relevant hereto, Plaintiff is a

“consumer” as defined by the FDCPA, 15 U.S.C. § 1692a (2).

       5.      Defendant, Frederick J. Hanna & Associates at all times relevant hereto, is

and was a corporation engaged in the business of collecting debt within the State of

Massachusetts and has a principal place of business located at 1427 Roswell Road,

Marietta, GA 30062.

       6.      Defendant, GC Services, LP (“Defendant”), at all times relevant hereto, is

and was a limited partnership engaged in the business of collecting debt within the State of

Massachusetts with a principal place of business located at 6330 Gulfton Street, Houston,

TX 77081.

       7.      Defendant FIA Card Services, Inc. (“FIA”) is believed to be a Delaware

Corporation, registered and authorized to conduct business within the State of

Massachusetts as a foreign for profit corporation; and is a financial institution which

regularly extends consumer credit accounts with a principal place of business at 1000

Samoset Drive, Wilmington, DE 19713-2332.

       8.      Defendants are engaged in the collection of debts from consumers using the

telephone and mail. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C.

§1692a(6).
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                           IV.     FACTUAL ALLEGATIONS


       9.       Plaintiff is engaged in the services of the law firm of Persels & Associates,

LLC to help aid her in his debt settlement negotiations.

       10.      Since approximately, July, 2010, Plaintiff has been receiving collection

calls on a debt allegedly owed to Defendant, FIA Card Services from Defendant, GC

Services, LP.

       11.      On or about July 27, 2010, Plaintiff informed Defendant, GC Services, LP,

that she had retained the services of the law firm of Persels & Associates and asked that

they should call them directly on this matter.

       12.      Plaintiff attempted to give Defendant, GC Services, LP, Persels telephone

number.

       13.      Defendant, GC Service, LP, declined to take Persels number and said that

they would never work with them.

       14.      Plaintiff continued to receive collection calls from Defenant, GC Services.

       15.      Defendant, GC Services, stated that the Plaintiff needed to find the money

somehow and that she needed to pay her debt.

       16.      Plaintiff tried to explain to Defendant, GC Services, that if she had the

money she certainly would pay them, but she just did not have it at this time.

       17.      Agent of the Defendant, GC Services, responded by scolding the Plaintiff

and telling her that there was no reason for her to be a “bitch”.

       18.      On or about September 8, 2010, Plaintiff’s husband received a call to his

place of employment from Defendant, GC Services regarding the debt owed to Defendant

FIA Card Services.
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       19.     Defendant, GC Services, stated that they were looking for the whereabouts

of his wife.

       20.     Plaintiff’s husband demanded that Defendant, GC Services, not call his

work again.

       21.     Defendant, GC Services, called Plaintiff’s husband at least three (3) more

times at his place of employment regarding this debt.

       22.     Plaintiff went on to receive at least ten (10) more calls from Defendant, GC

Services, demanding payment be made on this account.

       23.     During that same time in September, 2010, Plaintiff also started to receive

collection call in regards to the same alleged debt owed to Defendant, FIA Card Services,

from Defendant, Frederick J. Hanna & Associates.

       24.     Plaintiff also informed Defendant, Frederick J. Hanna, to also call and

speak with Persels directly on this matter.

       25.     Defendant, Frederick J. Hanna’s agent, “Mr. Roberts”, told the Plaintiff that

Persels was nothing but a bunch of liars who were just going to steel his money.

       26.     Agent, “Mr. Roberts”, of Defendant, Frederick J. Hanna, went on to tell the

Plaintiff that Persels was also nothing but a bunch of rip-offs.

       27.     Plaintiff tried to explain that she was receiving collection calls from

Defendant, GC Services, and Defendant, Frederick J. Hanna, on the same account.

       28.     Plaintiff was told that she had no choice but to work with Defendant,

Frederick J. Hanna, directly on paying back this account.

       29.     On or about September 21, 2010, Plaintiff’s teenage daughter answered the

phone and informed an agent of Defendant, Frederick J. Hanna, that her mother was not
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home. The Agent replied by stating that she was a “fucking liar” and to tell her mother she

needed to call them back about her debt.

       30.     It appears as though Defendant, FIA Card Services, sold this account to

Defendant, GC Services, and then intentionally sold it again to Defendant, Frederick J.

Hanna & Associates, in an unconscionable attempt to collect additional amounts on this

account.

       31.     Plaintiff continues to receive calls on this debt from Defendant, GC

Services and Defendant, Frederick J. Hanna despite both agencies being aware that the

Plaintiff is represented by an attorney and that all direct contact should have stopped.

       32.     The Defendants knew or should have known that their actions violated the

FDCPA. Additionally, Defendants could have taken the steps necessary to bring their and

their agent’s actions within compliance of the FDCPA, but neglected to do so and failed to

adequately review those actions to insure compliance with the law.

       33.     At all times pertinent hereto, Defendants were acting by and through their

agents, servants and/or employees, who were acting with the scope and course of their

employment and under the direct supervision and control of Defendants herein.

       34.     At all times pertinent hereto, the conduct of Defendants as well as their

agents, servants and/or employees, was malicious, intentional, willful, reckless, negligent

and in wanton disregard for federal and state law and the rights of the Plaintiff herein.



                                    COUNT I – FDCPA


       35.     The above paragraphs are hereby incorporated herein by reference.
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       36.     At all times relevant hereto, Defendants were attempting to collect an

alleged debt which was incurred by the Plaintiff for personal, family or household

purposes and is a “debt” as defined by 15 U.S.C. § 1692a(5).

       37.     The foregoing acts and omissions constitute violations of the FDCPA,

including but not limited to, violations of 15 U.S.C. § 1692:

               § 1692b(2):    Contact of Third Party: Stated that the consumer owes any

                              debt

               § 1692b(3):    Contact of Third Party: Contacted a person more than once

                              unless requested to do so

               § 1692b(6):    Contact of Third Party: After knowing the consumer wants

                              collector to cease communication

               § 1692c(a)(1): At any unusual time and place

               § 1692c(a)(2): After it knows the consumer to be represented by an attorney

               § 1692c(b):    With anyone except consumer, consumer’s attorney or credit

                              bureau concerning the debt

               § 1692d:       Any conduct that natural consequence of which is to harass,

                              oppress or abuse any person

               § 1692d(2):    Profane language or other abusive language

               § 1692d(5):    Caused the phone to ring or engaged any person in telephone

                              conversations repeatedly
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                   § 1692e:       Any other false, deceptive or misleading representation or

                                  means in connection with the debt collection

                   § 1692e(2):    Character, amount, or legal status of the alleged debt

                   § 1692e(10): Any false representation or deceptive means to collect a debt

                                  or obtain information about a consumer

                   § 1692f:       Any unfair or unconscionable means to collect or attempt to

                                  collect the alleged debt

        WHEREFORE, Plaintiff respectfully requests that this court enter judgment in her

favor and against GC Services, LP, Frederick J. Hanna & Associates and FIA Card

Services, N.A. for the following:

        a.         Actual damages;

        d.         Statutory damages pursuant to 15 U.S.C. §1692k;

        c.         Reasonable attorney’s fees and costs of suit pursuant to 15 U.S.C. §1692k;

and

        d.         Such addition and further relief as may be appropriate or that the interests of

justice require.
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                          V.      JURY DEMAND

Plaintiff hereby demands a jury trial as to all issues herein.




                                       Respectfully submitted,



Date: October 18, 2010                 BY: /s/ Michael E. Swain
                                       Michael E. Swain, Esquire
                                       BBO# 676513
                                       181 Main Street
                                       Blackstone, MA 01504
                                       Attorney for Plaintiff
